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                                                                                                  E-FILED
                                                                    Tuesday, 25 October, 2016 03:55:24 PM
                                                                             Clerk, U.S. District Court, ILCD

                             UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF ILLINOIS
                                            Urbana Division



BARBARA IRWIN,

               Plaintiff,

v.                                                                    Case No. 14-2275

JIMMY JOHN’S FRANCHISE, LLC and
JIMMY JOHN’S ENTERPRISES, LCC,

               Defendants.


                    ORDER FOLLOWING REPORT OF SETTLEMENT

       This case has been reported settled by the parties.
       IT IS, THEREFORE, ORDERED as follows:
       1. The parties are hereby directed to file with the court, within sixty (60) days of the date
of this order, a stipulation of dismissal signed by both parties.
       2. All time tables and scheduled hearings are VACATED until further order.
       3. Any pending motions in this case are rendered MOOT. If settlement does not occur,
the parties can request that the motions be reinstated.
       4. If the parties fail to submit the required settlement papers within sixty (60) days of the
date of this Order, the case will proceed under the following deadlines:
               Case dispositive motions will be due by April 14, 2017;

               Final Pre-Trial Conference will be set for July 10, 2017, at 10:00 A.M. in
               Courtroom A in Urbana before Judge Colin Stirling Bruce;

               Jury Selection/Jury Trial will be set for July 25, 2017, at 9:00 A.M. in Courtroom
               A in Urbana before Judge Colin Stirling Bruce.

       5. In the event that settlement does not occur, these dates are firm and will not be
modified by the Court as this case has been pending since November 6, 2014. If settlement is not
reached and the Parties wish to discuss a discovery schedule that comports with the above
mentioned dates, the Parties may contact the Court to schedule a Status Conference.
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ENTERED this 25th day of October, 2016.


                                            s/ERIC I. LONG
                                  UNITED STATES MAGISTRATE JUDGE
